Case No. 1:25-cv-00399-SKC-KAS                                 Document 1                filed 02/06/25               USDC Colorado                     pg
                                                                  1 of 23




                                    IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLORADO


 Civil Action No.

 JOSHUA CARROTHERS, Individually and on Behalf of All Others Similarly Situated,
            Plaintiff,
   v.

 DELTA COUNTY MEMORIAL HOSPITAL DISTRICT,

            Defendant.

 _____________________________________________________________________________

                CLASS ACTION COMPLAINT AND JURY DEMAND
  _____________________________________________________________________________

            Plaintiff Joshua Carrothers (“Plaintiff”), on behalf of all others similarly situated, by and

 through his undersigned counsel, brings this Class Action Complaint against Delta County

 Memorial Hospital District (“Delta” or “Defendant”). Plaintiff alleges the following upon

 information and belief based on and the investigation of counsel, except as to those allegations

 that specifically pertain to Plaintiff, which are alleged upon personal knowledge.

                                                      I.          INTRODUCTION

            1.          Plaintiff and the proposed Class Members bring this class action lawsuit on behalf

 of all persons who entrusted Defendant with sensitive Personally Identifiable Information (“PII”) 1

 and Protected Health Information (“PHI”) (collectively “Private Information”) that was impacted

 in a data breach that Defendant publicly disclosed on January 31, 2025 (the “Data Breach” or the

 “Breach”).

            2.          Plaintiff’s claims arise from Defendant’s failure to properly secure and safeguard

 Private Information that was entrusted to it, and its accompanying responsibility to store and



 1
   Personally identifiable information generally incorporates information that can be used to distinguish or trace an individual’s identity, either alone
 or when combined with other personal or identifying information. 2 C.F.R. § 200.79. At a minimum, it includes all information that on its face
 expressly identifies an individual.

                                                                            1
Case No. 1:25-cv-00399-SKC-KAS                        Document 1             filed 02/06/25          USDC Colorado                pg
                                                         2 of 23




 transfer that information.

           3.        Defendant is a county-wide healthcare system headquartered in Delta, Colorado.

 The district provides a range of medical services to the residents of Delta County and operates a

 49-bed hospital and several clinics throughout the region, offering services such as emergency

 care, rehabilitation, surgery, and specialty treatments. 2

           4.        On May 30, 2024, Defendant became aware of a security incident on its IT

 Network. 3        In response, Defendant launched an investigation and engaged third-party

 cybersecurity experts to determine the nature and scope of the incident. 4

           5.        The investigation determined that an unauthorized third party gained access to the

 company’s network between May 27, 2024, and May 30, 2024, and may have acquired certain

 files from Defendant’s systems. 5
           6.        Defendant then conducted a comprehensive review of the impacted data to

 determine what information was compromised and how many individuals were impacted. 6

           7.        Upon information and belief, the following types of sensitive personal and

 protected health information may have been compromised in the data breach: name, date of birth,

 phone number, address, financial account information, medical information, health insurance

 information, Social Security number, and/or driver’s license number. 7

           8.        On January 31, 2025, Defendant issued a public disclosure and started sending out

 notice letters and emails to affected individuals. 8

           9.        Defendant failed to take precautions designed to keep its patients’ Private

 Information secure.

           10.       Defendant owed Plaintiff and Class Members a duty to take all reasonable and

 necessary measures to keep the Private Information collected safe and secure from unauthorized


 2
   About us, Delta County Memorial Hospital District: https://deltahealthco.org/past-future/ (last visited February 6, 2025).
 3
   Exhibit 1: Joshua Carrothers Notice Letter.
 4
   Id.
 5
   Id.
 6
   Id.
 7
   Id.
 8
     Data Breach Notification, Delta County Memorial Hospital District, OFFICE OF THE MAINE ATTORNEY GENERAL:
 https://www.maine.gov/agviewer/content/ag/985235c7-cb95-4be2-8792-a1252b4f8318/6f93fec8-a842-4449-b431-ae77bc16510f.html     (last
 visited February 6, 2025).

                                                                 2
Case No. 1:25-cv-00399-SKC-KAS             Document 1        filed 02/06/25     USDC Colorado             pg
                                              3 of 23




 access. Defendant solicited, collected, used, and derived a benefit from the Private Information,

 yet breached its duty by failing to implement or maintain adequate security practices.

          11.   Defendant admits that information in its system was accessed by unauthorized

 individuals, though it provided little information regarding how the Data Breach occurred.

          12.   The sensitive nature of the data exposed through the Data Breach signifies that

 Plaintiff and Class Members have suffered irreparable harm. Plaintiff and Class Members have

 lost the ability to control their private information and are subject to an increased risk of identity

 theft.

          13.   Defendant, despite having the financial wherewithal and personnel necessary to

 prevent the Data Breach, nevertheless failed to use reasonable security procedures and practice

 appropriate to the nature of the sensitive, unencrypted information it maintained for Plaintiff and

 Class Members, causing the exposure of Plaintiff’s and Class Members’ Private Information.

          14.   As a result of Defendant’s inadequate digital security and notice process,

 Plaintiff’s and Class Members’ Private Information was exposed to criminals. Plaintiff and the

 Class Members have suffered and will continue to suffer injuries including: financial losses

 caused by misuse of their Private Information; the loss or diminished value of their Private

 Information as a result of the Data Breach; lost time associated with detecting and preventing

 identity theft; and theft of personal and financial information.

          15.   Plaintiff brings this action on behalf of all persons whose Private Information was

 compromised as a result of Defendant’s failure to: (i) adequately protect the Private Information

 of Plaintiff and Class Members; (ii) warn Plaintiff and Class Members of Defendant’s inadequate

 information security practices; (iii) effectively secure hardware containing protected Private

 Information using reasonable and adequate security procedures free of vulnerabilities and

 incidents; and (iv) timely notify Plaintiff and Class Members of the Data Breach. Defendant’s

 conduct amounts to at least negligence and violates federal and state statutes.

          16.   Plaintiff brings this action individually and on behalf of a Nationwide Class of

 similarly situated individuals against Defendant for: negligence; negligence per se; unjust


                                                   3
Case No. 1:25-cv-00399-SKC-KAS                       Document 1            filed 02/06/25          USDC Colorado               pg
                                                        4 of 23




 enrichment, breach of implied contract, and breach of confidence.

           17.      Plaintiff seeks to remedy these harms and prevent any future data compromise on

 behalf of himself and all similarly situated persons whose personal data was compromised and

 stolen as a result of the Data Breach and who remain at risk due to Defendant’s inadequate data

 security practices.

                                                    II.      PARTIES

      Plaintiff

           18.      Plaintiff Joshua Carrothers is a resident of Delta, Colorado. Plaintiff received a

 vaccination from Defendant. On January 31, 2025, Defendant sent Plaintiff a notice letter

 informing him that his Private Information was compromised in the Data Breach. As a result of

 the Data Breach, Plaintiff has experienced an uptick in spam calls, emails, and text messages, and

 has been forced to, and will continue to, invest significant time monitoring his accounts to detect

 and reduce the consequences of likely identity fraud. As a result of the Data Breach, Plaintiff is

 now subject to substantial and imminent risk of future harm. Plaintiff would not have used

 Defendant’s services had he known that it would expose his sensitive Private Information.

      Defendant

           19.      Defendant is a county-wide healthcare system headquartered in Delta, Colorado,

 having its principal place of business located at 1501 E 3rd St Delta, Colorado 81416. 9

                                     III.      JURISDICTION AND VENUE

           20.       This Court has jurisdiction over this action under the Class Action Fairness Act,

 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of interest and

 costs. The number of class members is more than 100 and at least one member of the Class

 defined below is a citizen of a different state that is diverse from Defendant’s citizenship. 10 Thus,

 minimal diversity exists under 28 U.S.C. § 1332 (d) (2) (A). Defendant has its principal place of

 business located in this District.


 9
  Contact us, Delta County Memorial Hospital District: https://deltahealthco.org/contact/ (last visited February 6, 2025).
 10
      Data Breach Notifications, Delta County Memorial Hospital District, OFFICE OF THE MAINE ATTORNEY GENERAL:
 https://www.maine.gov/agviewer/content/ag/985235c7-cb95-4be2-8792-a1252b4f8318/6f93fec8-a842-4449-b431-ae77bc16510f.html  (last
 visited February 6, 2025).

                                                               4
Case No. 1:25-cv-00399-SKC-KAS                                  Document 1               filed 02/06/25              USDC Colorado          pg
                                                                   5 of 23




               21.        This Court has personal jurisdiction over Defendant because Defendant is

 registered to do business and maintains its principal place of business in this District.

               22.        Venue is proper in this Court because Defendant’s principal place of business is

 located in this District, and because a substantial part of the events, acts, and omissions giving

 rise to Plaintiff’s claims occurred in this District.

                                                IV.        FACTUAL ALLEGATIONS

         A. Background on Defendant

               23.        Defendant is a county-wide healthcare system headquartered in Delta, Colorado.

 The district provides a range of medical services to the residents of Delta County and operates a

 49-bed hospital and several clinics throughout the region, offering services such as emergency

 care, rehabilitation, surgery, and specialty treatments. 11
               24.        Upon information and belief, Defendant made promises and representations to

 individuals, including Plaintiff and Class Members, that the Private Information collected from

 them would be kept safe and confidential, and that the privacy of that information would be

 maintained. 12

               25.        Plaintiff and Class Members provided their Private Information to Defendant with

 the reasonable expectation and on the mutual understanding that Defendant would comply with

 its obligations to keep such information confidential and secure from unauthorized access.

               26.        As a result of collecting and storing the Private Information of Plaintiff and Class

 Members for its own financial benefit, Defendant had a continuous duty to adopt and employ

 reasonable measures to protect Plaintiff’s and the Class Members’ Private Information from

 disclosure to third parties.




 11
      About us, Delta County Memorial Hospital District: https://deltahealthco.org/past-future/ (last visited February 6, 2025).
 12
      Privacy Policy, Delta County Memorial Hospital District: https://deltahealthco.org/privacy-policy/ (last visited February 6, 2025).




                                                                            5
Case No. 1:25-cv-00399-SKC-KAS                      Document 1            filed 02/06/25          USDC Colorado               pg
                                                       6 of 23




      B. The Data Breach

          27.       On May 30, 2024, Defendant became aware of a security incident on its IT

 Network. 13       In response, Defendant launched an investigation and engaged third-party

 cybersecurity experts to determine the nature and scope of the incident. 14

          28.       The investigation determined that an unauthorized third party gained access to the

 company’s network between May 27, 2024, and May 30, 2024, and may have acquired certain

 files from defendant’s systems. 15

          29.       Defendant then conducted a comprehensive review of the impacted data to

 determine what information was compromised and how many individuals were impacted. 16
          30.       Upon information and belief, the following types of sensitive personal and

 protected health information may have been compromised in the data breach: name, date of birth,

 phone number, address, financial account information, medical information, health insurance

 information, Social Security number, and/or driver’s license number. 17

          31.       On January 31, 2025, Defendant issued a public disclosure and started sending out

 notice letters and emails to affected individuals. 18

          32.       Defendant failed to take precautions designed to keep individuals’ Private

 Information secure.

          33.       While Defendant sought to minimize the damage caused by the Data Breach, it

 cannot and has not denied that there was unauthorized access to the sensitive Private Information

 of Plaintiff and Class Members.

          34.       Individuals affected by the Data Breach are, and remain, at risk that their data will

 be sold or listed on the dark web and, ultimately, illegally used in the future.




 13
    Exhibit 1: Joshua Carrothers Notice Letter.
 14
    Id.
 15
    Id.
 16
    Id.
 17
    Id.
 18
      Data Breach Notifications, Delta County Memorial Hospital District, OFFICE OF THE MAINE ATTORNEY GENERAL:
 https://www.maine.gov/agviewer/content/ag/985235c7-cb95-4be2-8792-a1252b4f8318/6f93fec8-a842-4449-b431-ae77bc16510f.html (last
 visited February 6, 2025).


                                                               6
Case No. 1:25-cv-00399-SKC-KAS                            Document 1              filed 02/06/25            USDC Colorado                  pg
                                                             7 of 23




      C. Defendant’s Failure to Prevent, Identify, and Timely Report the Data Breach

           35.        Defendant admits that an unauthorized third party accessed IT Network.

 Defendant failed to take adequate measures to protect its computer systems against unauthorized

 access.

           36.        The Private Information that Defendant allowed to be exposed in the Data Breach

 is the type of private information that Defendant knew or should have known would be the target

 of cyberattacks.

           37.        Despite its own knowledge of the inherent risks of cyberattacks, and

 notwithstanding the FTC’s data security principles and practices, 19 Defendant failed to disclose
 that its systems and security practices were inadequate to reasonably safeguard its past and present

 patients Private Information.

           38.        The FTC directs businesses to use an intrusion detection system to expose a breach

 as soon as it occurs, monitor activity for attempted hacks, and have an immediate response plan

 if a breach occurs. 20 Immediate notification of a Data Breach is critical so that those impacted

 can take measures to protect themselves.

           39.        Here, Defendant waited more than six-months after being made aware of the Data

 Breach to notify impacted individuals.

      D. The Harm Caused by the Data Breach Now and Going Forward

           40.        Victims of data breaches are susceptible to becoming victims of identity theft. The

 FTC defines identity theft as “a fraud committed or attempted using the identifying information

 of another person without authority.” 17 C.F.R. § 248.201(9). When “identity thieves have your

 personal information, they can drain your bank account, run up charges on your credit cards, open

 new utility accounts, or get medical treatment on your health insurance.” 21

           41.        The type of data that may have been accessed and compromised here can be used

 to perpetrate fraud and identity theft.


 19
      Protecting Personal Information: A Guide for Business, FED. TRADE COMM’N (Oct. 2016), https://www.ftc.gov/business-
 guidance/resources/protecting-personal-information-guide-business. (last visited February 6, 2025).
 20
    Id.
 21
    Prevention and Preparedness, NEW YORK STATE POLICE, https://troopers.ny.gov/prevention-and-preparedness (last visited February 6, 2025).

                                                                     7
Case No. 1:25-cv-00399-SKC-KAS                              Document 1               filed 02/06/25             USDC Colorado                   pg
                                                               8 of 23




            42.        Plaintiff and Class Members face a substantial risk of identity theft given that their

 Private Information was compromised in the Data Breach.

            43.        Stolen Private Information is often trafficked on the “dark web,” a heavily

 encrypted part of the Internet that is not accessible via traditional search engines.                                                   Law

 enforcement has difficulty policing the “dark web” due to this encryption, which allows users and

 criminals to conceal their identities and online activity.

            44.        When malicious actors infiltrate companies and copy and exfiltrate the Private

 Information that those companies store, the stolen information often ends up on the dark web

 where malicious actors buy and sell that information for profit. 22
            45.        For example, when the U.S. Department of Justice announced their seizure of

 AlphaBay—the largest online “dark market”—in 2017, AlphaBay had more than 350,000 listings,

 many of which concerned stolen or fraudulent documents that could be used to assume another

 person’s identity.” 23 Marketplaces similar to the now-defunct AlphaBay continue to be “awash

 with [PII] belonging to victims from countries all over the world.” 24

            46.        PII remains of high value to criminals, as evidenced by the prices they will pay

 through the dark web. Numerous sources cite dark web pricing for stolen identity credentials. For

 example, personal information can be sold at a price ranging from $40 to $200, and bank details

 have a price range of $50 to $200. 25 Criminals can also purchase access to entire company data

 breaches from $900 to $4,500. 26

            47.        According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet

 Crime Report, Internet-enabled crimes reached their highest number of complaints and dollar

 losses in 2019, resulting in more than $3.5 billion in losses to individuals and business victims. 27


 22
    Shining a Light on the Dark Web with Identity Monitoring, IDENTITYFORCE (Dec. 28, 2020) https://www.identityforce.com/blog/shining-light-
 dark-web-identity-monitoring (last visited February 6, 2025).
 23
    Stolen PII & Ramifications: Identity Theft and Fraud on the Dark Web, ARMOR (April 3, 2018), https://res.armor.com/resources/blog/stolen-pii-
 ramifications-identity-theft-fraud-dark-web/ (last visited February 6, 2025).
 24
    Id.
 25
    Id.
 26
      Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9, 2015)
 https://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-millions-worrying-about-identity-theft (last visited February 6,
 2025).
 27
     2019 Internet Crime Report Released, FBI (Feb. 11, 2020) https://www.fbi.gov/news/stories/2019-internet-crime-report-released-
 021120#:~:text=IC3%20received%20467%2C361%20complaints%20in,%2Ddelivery%20scams%2C%20and%20extortion (last visited February
 6, 2025).

                                                                        8
Case No. 1:25-cv-00399-SKC-KAS            Document 1        filed 02/06/25     USDC Colorado            pg
                                             9 of 23




            48.   Further, according to the same report, “rapid reporting can help law enforcement

 stop fraudulent transactions before a victim loses the money for good.” 28 Defendant did not

 rapidly report to Plaintiff and Class Members that their Private Information had been stolen.

 Defendant notified impacted people after more than six months of learning of the Data Breach.

            49.   As a result of the Data Breach, the Private Information of Plaintiff and Class

 Members has been exposed to criminals for misuse. The injuries suffered by Plaintiff and Class

 Members, or likely to be suffered as a direct result of Defendant’s Data Breach, include: (a) theft

 of their Private Information; (b) costs associated with the detection and prevention of identity

 theft; (c) costs associated with time spent and the loss of productivity from taking time to address

 and attempt to ameliorate, mitigate, and deal with the consequences of this Breach; (d) invasion

 of privacy; (e) the emotional distress, stress, nuisance, and annoyance of responding to, and

 resulting from, the Data Breach; (f) the actual and/or imminent injury arising from actual and/or

 potential fraud and identity theft resulting from their personal data being placed in the hands of

 the ill-intentioned hackers and/or criminals; (g) damage to and diminution in value of their

 personal data entrusted to Defendant with the mutual understanding that Defendant would

 safeguard their Private Information against theft and not allow access to and misuse of their

 personal data by any unauthorized third party; and (h) the continued risk to their Private

 Information, which remains in the possession of Defendant, and which is subject to further

 injurious breaches so long as Defendant fails to undertake appropriate and adequate measures to

 protect Plaintiff’s and Class Members’ Private Information.

            50.   In addition to a remedy for economic harm, Plaintiff and Class Members maintain

 an interest in ensuring that their Private Information is secure, remains secure, and is not subject

 to further misappropriation and theft.

            51.   Defendant disregarded the rights of Plaintiff and Class Members by (a)

 intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable

 measures to ensure that its network servers were protected against unauthorized intrusions; (b)


 28
      Id.

                                                  9
Case No. 1:25-cv-00399-SKC-KAS              Document 1         filed 02/06/25      USDC Colorado             pg
                                               10 of 23




 failing to disclose that it did not have adequately robust security protocols and training practices

 in place to safeguard Plaintiff’s and Class Members’ Private Information; (c) failing to take

 standard and reasonably available steps to prevent the Data Breach; (d) concealing the existence

 and extent of the Data Breach for an unreasonable duration of time; and (e) failing to provide

 Plaintiff and Class Members prompt and accurate notice of the Data Breach.

         52.     The actual and adverse effects to Plaintiff and Class Members, including the

 imminent, immediate, and continuing increased risk of harm for identity theft, identity fraud

 and/or medical fraud directly or proximately caused by Defendant’s wrongful actions and/or

 inaction and the resulting Data Breach require Plaintiff and Class Members to take affirmative

 acts to recover their peace of mind and personal security including, without limitation, purchasing

 credit reporting services, purchasing credit monitoring and/or internet monitoring services,

 frequently obtaining, purchasing and reviewing credit reports, bank statements, and other similar

 information, instituting and/or removing credit freezes and/or closing or modifying financial

 accounts, for which there is a financial and temporal cost. Plaintiff and other Class Members have

 suffered, and will continue to suffer, such damages for the foreseeable future.
                                  V.       CLASS ALLEGATIONS

         53.     Plaintiff brings this class action, individually and on behalf of the following

 Nationwide Class:

         All persons in the United States who were impacted by the Data Breach
         publicly announced by Defendant in January 2025 (the “Class”).


         54.     Specifically excluded from the Class are Defendant, its officers, directors, agents,

 trustees, parents, children, corporations, trusts, representatives, principals, servants, partners, joint

 venturers, or entities controlled by Defendant, and its heirs, successors, assigns, or other persons

 or entities related to or affiliated with Defendant and/or its officers and/or directors, the judge

 assigned to this action, and any member of the judge’s immediate family.




                                                    10
Case No. 1:25-cv-00399-SKC-KAS            Document 1        filed 02/06/25     USDC Colorado             pg
                                             11 of 23




        55.     Plaintiff reserves the right to amend the Class definitions above if further

 investigation and/or discovery reveals that the Class should be expanded, narrowed, divided into

 subclasses, or otherwise modified in any way.

        56.     This action may be certified as a class action because it satisfies the numerosity,

 commonality, typicality, adequacy, and superiority requirements therein.

        57.     Numerosity: The Class is so numerous that joinder of all Class Members is

 impracticable. Although the precise number of such persons is unknown, and the facts are

 presently within the sole knowledge of Defendant, upon information and belief, Plaintiff estimates

 that the Class is comprised of thousands of Class Members, if not more. The Class is sufficiently

 numerous to warrant certification.

        58.     Typicality of Claims: Plaintiff’s claims are typical of those of other Class Members
 because Plaintiff, like the unnamed Class, had his Private Information compromised as a result of

 the Data Breach. Plaintiff is a member of the Class, and his claims are typical of the claims of

 the members of the Class. The harm suffered by Plaintiff is similar to that suffered by all other

 Class Members which was caused by the same misconduct by Defendant.

        59.     Adequacy of Representation: Plaintiff will fairly and adequately represent and

 protect the interests of the Class. Plaintiff has no interests antagonistic to, nor in conflict with,

 the Class. Plaintiff has retained competent counsel who are experienced in consumer and

 commercial class action litigation and who will prosecute this action vigorously.

        60.     Superiority: A class action is superior to other available methods for the fair and

 efficient adjudication of this controversy. Because the monetary damages suffered by individual

 Class Members are relatively small, the expense and burden of individual litigation make it

 impossible for individual Class Members to seek redress for the wrongful conduct asserted herein.

 If Class treatment of these claims is not available, Defendant will likely continue its wrongful

 conduct, will unjustly retain improperly obtained revenues, or will otherwise escape liability for

 its wrongdoing as asserted herein.




                                                  11
Case No. 1:25-cv-00399-SKC-KAS            Document 1       filed 02/06/25     USDC Colorado            pg
                                             12 of 23




         61.     Predominant Common Questions: The claims of all Class Members present

 common questions of law or fact, which predominate over any questions affecting only individual

 Class Members, including:

                 a. Whether Defendant failed to implement and maintain reasonable
                    security procedures and practices appropriate to the nature and scope of
                    the information compromised in the Data Breach;

                 b. Whether Defendant’s data security systems prior to and during the Data
                    Breach complied with applicable data security laws and regulations;

                 c. Whether Defendant’s storage of Plaintiff’s and Class Member’s Private
                    Information was done in a negligent manner;

                 d. Whether Defendant had a duty to protect and safeguard Plaintiff’s and
                    Class Members’ Private Information;

                 e. Whether Defendant’s conduct was negligent;

                 f. Whether Defendant’s conduct violated Plaintiff’s and Class Members’
                    privacy;

                 g. Whether Defendant’s conduct violated the statutes as set forth herein;

                 h. Whether Defendant took sufficient steps to secure its past and present
                    patients Private Information;

                 i. Whether Defendant was unjustly enriched; and

                 j. The nature of relief, including damages and equitable relief, to which Plaintiff
                    and Class Members are entitled.

         62.     Information concerning Defendant’s policies is available from Defendant’s

 records.

         63.     Plaintiff knows of no difficulty which will be encountered in the management of

 this litigation which would preclude its maintenance as a class action.
          64.     The prosecution of separate actions by individual members of the Class would run

 the risk of inconsistent or varying adjudications and establish incompatible standards of conduct

 for Defendant. Prosecution as a class action will eliminate the possibility of repetitious and

 inefficient litigation.




                                                  12
Case No. 1:25-cv-00399-SKC-KAS            Document 1        filed 02/06/25     USDC Colorado            pg
                                             13 of 23




           65.   Given that Defendant had not indicated any changes to its conduct or security

 measures, monetary damages are insufficient and there is no complete and adequate remedy at

 law.

                                  VI.     CAUSES OF ACTION

                                            COUNT I
                                        NEGLIGENCE
                               (On Behalf of Plaintiff and the Class)

           66.   Plaintiff incorporates by reference and re-alleges each and every allegation set

 forth above in paragraphs 1 through 17 and paragraphs 23 through 65 as though fully set forth

 herein.

           67.   Plaintiff brings this claim individually and on behalf of the Class Members.

           68.   Defendant knowingly collected, came into possession of, and maintained

 Plaintiff’s and Class Members’ Private Information, and had a duty to exercise reasonable care in

 safeguarding, securing, and protecting such information from being compromised, lost, stolen,

 misused, and/or disclosed to unauthorized parties.

           69.   Defendant had a duty to have procedures in place to detect and prevent the loss or

 unauthorized dissemination of Plaintiff’s and Class Members’ Private Information.

           70.   Defendant had, and continues to have, a duty to timely disclose that Plaintiff’s and

 Class Members’ Private Information within its possession was compromised and precisely the

 types of information that were compromised.

           71.   Defendant owed a duty of care to Plaintiff and Class Members to provide data

 security consistent with industry standards, applicable standards of care from statutory authority

 like Section 5 of the FTC Act, and other requirements discussed herein, and to ensure that its

 systems and networks, and the personnel responsible for them, adequately protected individuals’

 Private Information.

           72.   Defendant’s duty of care to use reasonable security measures arose as a result of

 the special relationship that existed between Defendant and its patients. Defendant was in a



                                                  13
Case No. 1:25-cv-00399-SKC-KAS            Document 1       filed 02/06/25     USDC Colorado            pg
                                             14 of 23




 position to ensure that its systems were sufficient to protect against the foreseeable risk of harm

 to Plaintiff and Class Members from a data breach.

        73.     Defendant’s duty to use reasonable care in protecting confidential data arose not

 only as a result of the statutes and regulations described above, but also because Defendant is

 bound by industry standards to protect confidential Private Information.

        74.     Defendant breached these duties by failing to exercise reasonable care in

 safeguarding and protecting Plaintiff’s and Class Members’ Private Information.

        75.     The specific negligent acts and omissions committed by Defendant include, but

 are not limited to, the following:

                a. Failing to adopt, implement, and maintain adequate security measures
                   to safeguard Plaintiff’s and Class Members’ Private Information;

                b. Failing to adequately monitor the security of its networks and systems;
                   and

                c. Failing to periodically ensure that its computer systems and networks
                   had plans in place to maintain reasonable data security safeguards.

        76.     Defendant, through its actions and/or omissions, unlawfully breached its duties to

 Plaintiff and Class Members by failing to exercise reasonable care in protecting and safeguarding

 Plaintiff’s and Class Members’ Private Information within Defendant’s possession.

        77.     Defendant, through its actions and/or omissions, unlawfully breached its duties to

 Plaintiff and Class Members by failing to have appropriate procedures in place to detect and

 prevent dissemination of Plaintiff’s and Class Members’ Private Information.

        78.     Defendant, through its actions and/or omissions, unlawfully breached its duty to

 timely disclose to Plaintiff and Class Members that the Private Information within Defendant’s

 possession might have been compromised and precisely the type of information compromised.

        79.     Defendant breached the duties set forth in 15 U.S.C. § 45, the FTC guidelines, the

 National Institute of Standards and Technology’s Framework for Improving Critical

 Infrastructure Cybersecurity, and other industry guidelines. In violation of 15 U.S.C. § 45,

 Defendant failed to implement proper data security procedures to adequately and reasonably

                                                 14
Case No. 1:25-cv-00399-SKC-KAS            Document 1        filed 02/06/25     USDC Colorado             pg
                                             15 of 23




 protect Plaintiff’s and Class Members’ Private Information. In violation of the FTC guidelines,

 inter alia, Defendant did not protect the Private Information it keeps; failed to properly dispose

 of personal information that was no longer needed; failed to encrypt information stored on

 computer networks; lacked the requisite understanding of its networks’ vulnerabilities; and failed

 to implement policies to correct security issues.

        80.     It was foreseeable that Defendant’s failure to use reasonable measures to protect

 Plaintiff’s and Class Members’ Private Information would result in injury to Plaintiff and Class

 Members. Further, the breach of security was reasonably foreseeable given the known high

 frequency of cyberattacks and data breaches.

        81.     It was foreseeable that the failure to adequately safeguard Plaintiff’s and Class

 Members’ Private Information would result in injuries to Plaintiff and Class Members.

        82.     Defendant’s breach of duties owed to Plaintiff and Class Members caused

 Plaintiff’s and Class Members’ Private Information to be compromised.

        83.     But for Defendant’s negligent conduct and breach of the above-described duties

 owed to Plaintiff and Class Members, their Private Information would not have been

 compromised.

        84.     As a result of Defendant’s failure to timely notify Plaintiff and Class Members that

 their Private Information had been compromised, Plaintiff and Class Members are unable to take

 the necessary precautions to mitigate damages by preventing future fraud.

        85.     As a result of Defendant’s negligence and breach of duties, Plaintiff and Class

 Members are in danger of imminent harm in that their Private Information, which is still in the

 possession of third parties, will be used for fraudulent purposes, and Plaintiff and Class Members

 have and will suffer damages including: a substantial increase in the likelihood of identity theft;

 the compromise, publication, and theft of their personal information; loss of time and costs

 associated with the prevention, detection, and recovery from unauthorized use of their personal

 information; the continued risk to their personal information; future costs in terms of time, effort,

 and money that will be required to prevent, detect, and repair the impact of the personal


                                                  15
Case No. 1:25-cv-00399-SKC-KAS            Document 1          filed 02/06/25   USDC Colorado           pg
                                             16 of 23




 information compromised as a result of the Data Breach; and overpayment for the services or

 products that were received without adequate data security.
                                           COUNT II
                                    NEGLIGENCE PER SE
                               (On Behalf of Plaintiff and the Class)
           86.   Plaintiff incorporates by reference and re-alleges each and every allegation set

 forth above in paragraphs 1 through 17 and paragraphs 23 through 65 as though fully set forth

 herein.

           87.   Section 5 of the FTC Act, 15 U.S.C. 45, prohibits “unfair . . . practices in or

 affecting commerce” including, as interpreted and enforced by the FTC, the unfair act or practice

 by Defendant of failing to use reasonable measures to protect Plaintiff’s and Class Members’

 Private Information. Various FTC publications and orders also form the basis of Defendant’s

 duty.

           88.   Defendant violated Section 5 of the FTC Act (and similar state statutes) by failing

 to use reasonable measures to protect Plaintiff’s and Class Members’ Private Information and by

 failing to comply with industry standards.

           89.   Defendant’s conduct was particularly unreasonable given the nature and amount

 of Private Information obtained and stored and the foreseeable consequences of a data breach on

 Defendant’s systems.

           90.   Class Members are consumers within the class of persons Section 5 of the FTC

 Act (and similar state statutes) were intended to protect.

           91.   Moreover, the harm that has occurred is the type of harm the FTC Act (and similar

 state statutes) was intended to guard against. Indeed, the FTC has pursued over fifty enforcement

 actions against businesses which, as a result of their failure to employ reasonable data security

 measures and avoid unfair and deceptive practices, caused the same harm suffered by Plaintiff

 and Class Members.

           92.   As a result of Defendant’s negligence per se, Plaintiff and Class Members have

 been harmed and have suffered damages including, but not limited to: damages arising from


                                                  16
Case No. 1:25-cv-00399-SKC-KAS           Document 1       filed 02/06/25     USDC Colorado            pg
                                            17 of 23




 identity theft and fraud; out-of-pocket expenses associated with procuring identity protection and

 restoration services; increased risk of future identity theft and fraud, and the costs associated

 therewith; and time spent monitoring, addressing, and correcting the current and future

 consequences of the Data Breach.

                                          COUNT III
                                   UNJUST ENRICHMENT
                              (On Behalf of Plaintiff and the Class)
           93.   Plaintiff incorporates by reference and re-alleges each and every allegation set

 forth above in paragraphs 1 through 17 and paragraphs 23 through 65 as though fully set forth

 herein.

           94.   Plaintiff and Class Members conferred a benefit upon Defendant by providing

 Defendant with their Private Information.

           95.   Defendant appreciated or had knowledge of the benefits conferred upon itself by

 Plaintiff. Defendant also benefited from the receipt of Plaintiff’s and Class Members’ Private

 Information.

           96.   Under principles of equity and good conscience, Defendant should not be

 permitted to retain the full value of Plaintiff’s and the Class Members’ Private Information

 because Defendant failed to adequately protect their Private Information. Plaintiff and the

 proposed Class would not have provided their Private Information to Defendant had they known

 Defendant would not adequately protect their Private Information.

           97.   Defendant should be compelled to disgorge into a common fund for the benefit of

 Plaintiff and Class Members all unlawful or inequitable proceeds received by it because of its

 misconduct and the Data Breach it caused.

                                          COUNT IV
                             BREACH OF IMPLIED CONTRACT
                              (On Behalf of Plaintiff and the Class)
           98.   Plaintiff incorporates by reference and re-alleges each and every allegation set

 forth above in paragraphs 1 through 17 and paragraphs 23 through 65 as though fully set forth

 herein.


                                                 17
Case No. 1:25-cv-00399-SKC-KAS             Document 1       filed 02/06/25      USDC Colorado         pg
                                              18 of 23




        99.     Plaintiff and the Class provided and entrusted their Private Information to

 Defendant. Plaintiff and the Class provided their Private Information to Defendant as part of

 Defendant’s regular business practices.

        100.    In so doing, Plaintiff and the Class entered into implied contracts with Defendant

 by which Defendant agreed to safeguard and protect such information, to keep such information

 secure and confidential, and to timely and accurately notify Plaintiff and the Class if their data had

 been breached and compromised or stolen, in return for the business services provided by

 Defendant. Implied in these exchanges was a promise by Defendant to ensure that the Private

 Information of Plaintiff and Class Members in its possession was secure.

        101.    Pursuant to these implied contracts, Plaintiff and Class Members provided

 Defendant with their Private Information. In exchange, Defendant agreed to, among other things,

 and Plaintiff and the Class understood that Defendant would: (1) provide services to Plaintiff sand

 Class Members’; (2) take reasonable measures to protect the security and confidentiality of

 Plaintiff and Class Members’ Private Information; and (3) protect Plaintiff and Class Members’

 Private Information in compliance with federal and state laws and regulations and industry

 standards.

        102.    Implied in these exchanges was a promise by Defendant to ensure the Private

 Information of Plaintiff and Class Members in its possession was only used to provide the agreed-

 upon reasons, and that Defendant would take adequate measures to protect Plaintiff and Class

 Members’ Private Information.

        103.    A material term of this contract is a covenant by Defendant that it would take

 reasonable efforts to safeguard that information. Defendant breached this covenant by allowing

 Plaintiff and Class Members’ Private Information to be accessed in the Data Breach.




                                                  18
Case No. 1:25-cv-00399-SKC-KAS             Document 1       filed 02/06/25    USDC Colorado         pg
                                              19 of 23




            104.   Indeed, implicit in the agreement between Defendant and Plaintiff and Class

 Members was the obligation that both parties would maintain information confidentially and

 securely.

            105.   These exchanges constituted an agreement and meeting of the minds between the

 parties.

            106.   When the parties entered into an agreement, mutual assent occurred. Plaintiff and

 Class Members would not have disclosed their Private Information to Defendant but for the

 prospect of utilizing Defendant services. Conversely, Defendant presumably would not have taken

 Plaintiff and Class Members’ Private Information if it did not intend to provide Plaintiff and Class

 Members with its services.

            107.   Defendant was therefore required to reasonably safeguard and protect the Private

 Information of Plaintiff and Class Members from unauthorized disclosure and use.

            108.   Plaintiff and Class Members would not have entrusted their Private Information to

 Defendant in the absence of their implied contracts with Defendant and would have instead

 retained the opportunity to control their Private Information.

            109.   Defendant breached the implied contracts with Plaintiff and Class Members by

 failing to reasonably safeguard and protect Plaintiff and Class Members’ Private Information.

            110.   Defendant’s failure to implement adequate measures to protect the Private

 Information of Plaintiff and Class Members violated the purpose of the agreement between the

 parties.

            111.   As a proximate and direct result of Defendant’s breaches of its implied contracts

 with Plaintiff and Class Members, Plaintiff and the Class Members suffered damages as described

 in detail above.

                                              COUNT V


                                                  19
Case No. 1:25-cv-00399-SKC-KAS             Document 1        filed 02/06/25     USDC Colorado            pg
                                              20 of 23




                                  BREACH OF CONFIDENCE
                               (On Behalf of Plaintiff and the Class)
           112.   Plaintiff incorporates by reference and re-alleges each and every allegation set

 forth above in paragraphs 1 through 17 and paragraphs 23 through 65 as though fully set forth

 herein.

           113.   At all times during Plaintiff’s and Class Members’ interactions with Defendant,

 Defendant was fully aware of the confidential and sensitive nature of Plaintiff’s and Class

 Members’ Private Information that Plaintiff and Class Members entrusted to Defendant.

           114.   As alleged herein and above, Defendant’s relationship with Plaintiff and the Class
 was governed by terms and expectations that Plaintiff’s and the Class Members’ Private

 Information would be collected, stored, and protected in confidence, and would not be disclosed

 to unauthorized third parties.

           115.   Plaintiff and the Class entrusted Defendant with their Private Information with the

 explicit and implicit understandings that Defendant would protect and not permit the Private

 Information to be disseminated to any unauthorized third parties.

           116.   Plaintiff and the Class also entrusted Defendant with their Private Information with

 the explicit and implicit understandings that Defendant would take precautions to protect that

 Private Information from unauthorized disclosure.

           117.   Defendant voluntarily received Plaintiff’s and Class Members’ Private

 Information in confidence with the understanding that their Private Information would not be

 disclosed or disseminated to the public or any unauthorized third parties.

           118.   As a result of Defendant’s failure to prevent and avoid the Data Breach from

 occurring, Plaintiff’s and Class Members’ Private Information was disclosed and misappropriated

 to unauthorized third parties beyond Plaintiff’s and Class Members’ confidence, and without their

 express permission.

           119.   As a direct and proximate cause of Defendant’s actions and omissions, Plaintiff

 and the Class have suffered damages.




                                                   20
Case No. 1:25-cv-00399-SKC-KAS            Document 1        filed 02/06/25     USDC Colorado             pg
                                             21 of 23




        120.    But for Defendant’s disclosure of Plaintiff’s and Class Members’ Private

 Information in violation of the parties’ understanding of confidence, their Private Information

 would not have been compromised, stolen, viewed, accessed, and used by unauthorized third

 parties. Defendant’s Data Breach was the direct and legal cause of the theft of Plaintiff’s and

 Class Members’ Private Information as well as the resulting damages.

        121.    The injury and harm Plaintiff and the Class suffered was the reasonably

 foreseeable result of Defendant’s unauthorized disclosure of Plaintiff’s and Class Members’

 Private Information. Defendant knew or should have known its methods of accepting and

 securing Plaintiff’s and Class Members’ Private Information was inadequate as it relates to, at the

 very least, securing servers and other equipment containing Plaintiff’s and Class Members’

 Private Information.
         122. As a direct and proximate result of Defendant’s breach of its confidence with

 Plaintiff and the Class, Plaintiff and the Class have suffered and will suffer injury, including but

 not limited to: (i) identity theft; (ii) the loss of the opportunity how their Private Information is

 used; (iii) the compromise, publication, and/or theft of their Private Information; (iv) out-of-

 pocket expenses associated with the prevention, detection, and recovery from identity theft, tax

 fraud, and/or unauthorized use of their Private Information; (v) lost opportunity costs associated

 with effort expended and the loss of productivity addressing and attempting to mitigate the actual

 present and future consequences of the Data Breach, including but not limited to efforts spent

 researching how to prevent, detect, contest, and recover from tax fraud and identity theft; (vi)

 costs associated with placing freezes on credit reports; (vii) the continued risk to their Private

 Information, which remain in Defendant’s possession and is subject to further unauthorized

 disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

 the Private Information of current and former people; and (viii) present and future costs in terms

 of time, effort, and money that will be expended to prevent, detect, contest, and repair the impact



                                                  21
Case No. 1:25-cv-00399-SKC-KAS           Document 1        filed 02/06/25      USDC Colorado             pg
                                            22 of 23




 of the Private Information compromised as a result of the Data Breach for the remainder of the

 lives of Plaintiff and Class Members.

        123.   As a direct and proximate result of Defendant’s breaches of confidence, Plaintiff

 and the Class Members have suffered and will continue to suffer other forms of injury and/or

 harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and other

 economic and non-economic losses.

                                VII.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

 judgment against Defendant, as follows:

        (a)    For an order determining that this action is properly brought as a class action and
               certifying Plaintiff as the representative of the Class and his counsel as Class
               Counsel;

        (b)    For an order declaring that Defendant’s conduct violates the laws referenced
               herein;

        (c)    For an order finding in favor of Plaintiff and the Class on all counts asserted herein;

        (d)    For damages in amounts to be determined by the Court and/or jury;

        (e)    For an award of statutory damages or penalties to the extent available;

        (f)    For pre-judgment interest on all amounts awarded;

        (g)    For an order of restitution and all other forms of monetary relief; and

        (h)    Such other and further relief as the Court deems necessary and appropriate.

                                  JURY TRIAL DEMANDED

        Plaintiff demands a trial by jury of all claims in this Class Action Complaint so triable.


 Dated: February 6, 2025                      By: /s/ Jeffrey A. Berens
                                              Jeffrey A. Berens
                                              JOHNSON FISTEL, LLP
                                              2373 Central Park Blvd, Suite 100
                                              Denver, CO 80238
                                              Telephone: (303) 861-1764
                                              Email: jeffb@johnsonfistel.com
                                                 22
Case No. 1:25-cv-00399-SKC-KAS   Document 1     filed 02/06/25        USDC Colorado   pg
                                    23 of 23




                                    Eduard Korsinsky*
                                    Mark Svensson*
                                    LEVI & KORSINSKY, LLP
                                    33 Whitehall Street, 17th Floor
                                    New York, NY 10004
                                    Telephone: (212) 363-7500
                                    Facsimile: (212) 363-7171
                                    Email: ek@zlk.com
                                    Email: msvensson@zlk.com

                                    Attorneys for Plaintiff and the Proposed Class

                                    *pro hac vice forthcoming




                                       23
